Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 1 of 42 Page ID #:1




 1 KAZEROUNI LAW GROUP, APC
     Abbas Kazerounian, Esq. (SBN: 249203)
 2 ak@kazlg.com
     Mona Amini, Esq. (SBN: 296829)
 3 mona@kazlg.com
     245 Fischer Avenue, Unit D1
 4 Costa Mesa, California 92626
     Telephone: (800) 400-6808
 5 Facsimile: (800) 520-5523

 6 LEVIN PAPANTONIO RAFFERTY
     Kimberly Lambert Adams
 7 kadams@levinlaw.com
     316 S. Bavien Street, Suite 600
 8 Pensacola, FL 32502
     Telephone: (850) 435-7056
 9 *pro hac vice application forthcoming

10 Attorneys for Plaintiff,

11 JANE DOE

12                          UNITED STATES DISTRICT COURT
13                        CENTRAL DISTRICT OF CALIFORNIA
14 JANE DOE, on behalf of herself and all           Case No.:
     others similarly situated,
15                                                  CLASS ACTION COMPLAINT FOR:
16                            Plaintiff,           I. BENEFITING FROM A SEX
                                                      TRAFFICKING VENTURE,
17          vs.                                       18 U.S.C. §§ 1591 and 1595;
                                                  II. RECEIPT AND DISTRIBUTION
18   WebGroup Czech Republic, as; WGCZ                OF CHILD PORNOGRAPHY,
     Holding, as; WGCZ Limited, sro; NKL              18 U.S.C. §§ 2252 and 2252A;
19   Associates sro; Traffic F, sro; GTFlix TV, III. RECEIPT AND DISTRIBUTION
     sro; FTCP, sro; VS Media, Inc.; HC               OF CHILD PORNOGRAPHY,
20   Media, sro; HC Multimedia LLC; FBP               18 U.S.C. § 2260;
     Media sro; Serverstack, Inc., Digital Ocean IV. VIOLATION OF DUTY TO
21   Holdings, Inc.; and Digital Ocean, LLC           REPORT CHILD SEXUAL
     f/k/a/ Digital Ocean, Inc.; STEPHANE             ABUSE MATERIAL, 18 U.S.C.
22   MICHAEL PACAUD; DEBORAH                          § 2258A;
     MALORIE PACAUD                               V. VIOLATION OF CALIFORNIA’S
23                                                    UNFAIR COMPETITION LAW
                             Defendants.              (“UCL”), CAL. BUS. & PROF.
24                                                    CODE §§ 17200, ET SEQ.
25                                                  JURY TRIAL DEMANDED
26

27

28

                                                 -1-
                                       CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 2 of 42 Page ID #:2




 1
                                      INTRODUCTION
 2
           1.     Plaintiff and the proposed class are victims and survivors of childhood
 3
     sex trafficking who had videos and images of their childhood sex trafficking sold
 4
     and/or distributed on websites owned, operated, managed and controlled by
 5
     Defendants. Defendants have exploited this child sexual abuse material for profit.
 6
           2.     The Defendants, on their websites, created, organized, and disseminated
 7
     images and videos that depict child sexual abuse, often referred to as child
 8
     pornography. Each of these images and videos are crime scenes the Defendants
 9
     monetized.
10
           3.     The Plaintiff brings this action against the Defendants, who financially
11
     benefited from, or otherwise participated in, a sex trafficking venture in which the
12
     Plaintiff was a victim. Plaintiff, who was under eighteen years of age at the time of
13
     filming, was depicted in commercial sex acts and child pornography, which was then
14
     made available for viewing on websites owned or operated by the Defendants. This
15
     violated, among other laws, the Trafficking Victims Protection Reauthorization Act
16
     (“TVPRA”), 18 U.S.C. § 1591 and 1595.
17
                               JURISDICTION AND VENUE
18
           4.     The Court has subject-matter jurisdiction over this matter under 28
19
     U.S.C. § 1331 because this action arises under the laws of the United States.
20
           5.     The Court may properly exercise personal jurisdiction over all
21
     Defendants. Each of the Defendants maintains minimum contacts with California,
22
     such that maintaining this lawsuit does not offend traditional notions of fair play and
23
     substantial justice.
24
           6.     These contacts include, but are not limited to, one or more of the
25
     Defendants’ ownership and control of Penthouse World Media LLC; Penthouse
26
     World Broadcasting LLC; Penthouse World Digital LLC; Penthouse World
27
     Licensing LLC; and Penthouse World Publishing LLC (the Penthouse entities),
28

                                              -2-
                                    CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 3 of 42 Page ID #:3




 1 located at 8944 Mason Ave, Chatsworth, California 91311. The manager/member

 2 listed for the Penthouse entities, Robert Seifert, is a WebGroup Czech Republic, as

 3 executive.

 4               7.     Additionally, on information and belief, one or more of the Defendants
 5 owns and controls Defendant VS Media, Inc., located at 31416 Agoura Rd, Westlake

 6 Village, CA 91361. VS Media, Inc. manages the XVideos webcam model platform

 7 from their California headquarters.1                In this regard, XVideos directs all those
 8 interested in becoming an “XVideos webcam model” to the California VS Media

 9 team stating, “Once you click submit, a member of our Los Angeles-based staff will

10 contact you to help you complete the setup process for new live cam models.” 2

11 Defendants invite anyone with questions to reach out to the XVideos “broadcast

12 support team at broadcastsupport@vsmedia.com.”

13               8.     Additionally, upon information and belief, VS Media, Inc. provides
14 technology and support foundational to WebGroup Czech Republic, as and related

15 entities’ business activities across multiple websites and platforms that it owns and

16 controls.

17               9.     Consequently, these activities in California are continuous and
18 systematic. Defendants have purposefully availed themselves of this Court’s

19 jurisdiction. Defendants direct substantial business activity into this jurisdiction.

20 There is a substantial nexus between Jane Doe’s claims and Defendants’ activities.

21               10.    As set forth in more detail below, each of the Defendants acts as the alter
22 ego of the others.

23               11.    Venue is proper in this district pursuant to 28 U.S.C. § 1391 and 18
24 U.S.C. § 2255(c) because a substantial part of the events or omissions giving rise to

25 the claims asserted in this action occurred in the judicial district where this action is

26 brought.

27

28   1See      https://www.xvideos-cams.com/broadcasters.php?tracker=xv_info_external.
     2   Id.
                                                      -3-
                                            CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 4 of 42 Page ID #:4




 1                                        PARTIES
 2        12.    Plaintiff JANE DOE is an individual who is now the age of majority
 3 under California law and presently resides in California. The Plaintiff is a victim of

 4 child sex trafficking and the creation of child pornography under applicable law. She

 5 is also a courageous survivor willing to step forward and tell her story in the interests

 6 of justice and out of concern for other survivors.

 7        13.    Due to the sensitive, private nature of Plaintiff’s allegations, and the
 8 potential for harmful retaliation against her, Plaintiff requests this Court permit her to

 9 proceed under a pseudonym. Courts recognize an exception to the general rule that

10 pleadings name all parties when the issues involved are of a sensitive and highly

11 personal nature. For good cause, as exists here, the Court may permit Plaintiff to

12 proceed in pseudonym to protect her from annoyance, embarrassment, oppression, or

13 undue burden or expense.

14        14.    Here, Plaintiff would face imminent danger if her identity were known.
15 Granting pseudonym status is warranted because this litigation will involve the

16 disclosure of identifying information that would allow Plaintiff’s former traffickers to

17 locate and harm her.

18        15.    Additionally, disclosing her identifying information would reveal
19 stigmatizing sexual information, including rape. Plaintiff fears the stigma from her

20 family, friends, employer, and community if her true identity is revealed in the public

21 record.

22        16.    Defendants will not be prejudiced by Plaintiff’s use of a pseudonym.
23 Plaintiff will agree to reveal her identity to Defendants for the limited purpose of

24 investigating Plaintiff’s claims once the parties are governed by a protective order.

25 Plaintiff simply seeks redaction of Plaintiff’s personal identifying information from

26 the public docket and assurances that Defendants will not use or publish Plaintiff’s

27 identity in a manner that will compromise her personal safety, private life, or future

28 employment prospects.

                                              -4-
                                    CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 5 of 42 Page ID #:5




 1        17.   Defendants include a number of intertwined and related entities:
 2              a.    Defendant WebGroup Czech Republic, as (formerly WGCZ, sro
 3 and WGCZ, as), with a place of business at Krakovská 1366/25, Nové Město, 110 00

 4 Prague, and owned and/or managed by Malorie Pacaud; Stephane Pacaud; Marjorie

 5 Grocq; Robert Seifert; and formerly by LK Management Limited; Konečná & Zacha,

 6 sro, law office , IČ; and Kateřina Pokorná. WebGroup Czech Republic, as owns the

 7 XVideos trademarks.

 8              b.    Defendant WGCZ Holding, as, with a place of business at
 9 Krakovská 1366/25, Nové Město, 110 00 Prague, and owned and/or managed by

10 Malorie Pacaud, Stephane Pacaud, Marjorie Grocq, and Robert Seifert.

11              c.    Defendant WGCZ Limited, sro, with a place of business at
12 Krakovská 1366/25, Nové Město, 110 00 Prague, and owned and/or managed by

13 Malorie Pacaud; Robert Seifert; and WGCZ Holding, as.

14              d.    Defendant NKL Associates sro, with a place of business at
15 Krakovská 1366/25, Nové Město, 110 00 Prague, and owned and/or managed by

16 Malorie Pacaud; Stephane Pacaud; Marjorie Grocq; Robert Seifert, and formerly LK

17 Management Limited. NKL Associates sro owns the XNXX trademarks.

18              e.    Defendant Traffic F, sro, with a place of business at Krakovská
19 1366/25, Nové Město, 110 00 Prague, and owned and/or managed by Malorie

20 Pacaud; Stephane Pacaud; Robert Seifert; and formerly by LK Management, Limited,

21 and Robert Caroll (American resident, possible U.S. citizen). Traffic F, sro owns the

22 Traffic Factory trademark, and runs Traffic Factory, Defendants’ advertising

23 platform.

24              f.    Defendant GTFlix TV, sro, with a place of business at Krakovská
25 1366/25, Nové Město, 110 00 Prague, and owned and/or managed by Malorie

26 Pacaud; Marjorie Grocq; WGCZ Holding, as; and formerly by Zeus Trade, sro;

27 Danylo Kucherenko; Sofya Koroleva; Web Group Limited; Pedro Javier Vazquez

28 Hernandez; Ing. Šárka Matoušková.        GTFlix, TV, sro owns the Legal Porno
                                            -5-
                                  CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 6 of 42 Page ID #:6




 1 trademarks.

 2               g.   Defendant FTCP, sro (formerly FLIRT4FREE.cz, sro), with a
 3 place of business at Vodičkova 791/41, Nové Město, 110 00 Prague, and owned

 4 and/or managed by Helena Luňáková and Miroslav Mrňa, and formerly Online

 5 Services LTD.

 6               h.   Defendant VS Media, Inc., with a place of business at 31416
 7 Agoura Rd #205, Westlake Village, CA 91361-5643, and owned and/or managed by

 8 Gregory Louis Clayman and Tony Shyngle.        VS Media, Inc. owns the Flirt4Free
 9 trademarks and runs the XVideos webcam website.

10               i.   Defendant HC Media, sro, with a place of business at Vodičkova
11 791/41, Nové Město, 110 00 Prague, and owned and/or managed by Miroslav Mrňa;

12 Ing. Lucie Hrdinová, and HC Multimedia, LLC; and formerly FBP Media sro.

13               j.   Defendant HC Multimedia LLC with a place of business at 401
14 Ryland St Ste 200-A, Reno, NV 89502, and owned and/or managed by Gregory

15 Louis Clayman; VS Media, Inc.; HC Multimedia, LLC.            HC Multimedia LLC
16 attempted to trademark Hidden Cams.

17               k.   Defendant FBP Media sro, with a place of business at Vodičkova
18 791/41, Nové Město, 110 00 Prague, and owned and/or managed by Jan Jaros;

19 Miroslav Mrna; and VS Media, Inc., and formerly by Gregory Louis Clayman.

20        18.    Robert Seifert has over 60 entities associated with him in the Czech
21 business registry, over half of which are at the same address: Krakovská 1366/25,

22 Nové Město, 110 00 Prague.

23        19.    Defendants WebGroup Czech Republic, as; WGCZ Holding, as; WGCZ
24 Limited, sro; NKL Associates sro; Traffic F, sro; GTFlix TV, sro; FTCP, sro; VS

25 Media, Inc.; HC Media, sro; HC Multimedia LLC; and FBP Media sro (collectively,

26 “WGCZ,” “WGCZ entities,” or “WGCZ Defendants”) commonly engage in a kind of

27 corporate shape-shifting: altering their names, switching directors around, deleting

28 some corporations and forming others.

                                            -6-
                                  CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 7 of 42 Page ID #:7




 1        20.   Defendant Stephane Michael Pacaud is, and at all relevant times was, a
 2 shareholder and an executive of Defendant WebGroup Czech Republic, and its

 3 corporate affiliations and alter egos. Mr. Pacaud’s last known residence listed on the

 4 Czech business database for WebGroup Czech is Saint Germain au Mont d'Or, 1

 5 Chemin De La Mendillonne, French Republic

 6        21.   Defendant Deborah Malorie Pacaud is, and at all relevant times was, a
 7 shareholder and an executive of Defendant WebGroup Czech Republic, and its

 8 corporate affiliations and alter egos. Ms. Pacaud’s last known residence listed on

 9 the Czech business database for WebGroup Czech is Krakovská 593/19, Nové Město,

10 110 00 Prague 1.

11        22.   Thus, each of the WGCZ Defendants acts as the alter ego of the others.
12 The WGCZ entities have a complex corporate structure designed to operate

13 interactive commercial websites, offer memberships, create content, and transact

14 other related business throughout the world and the United States, including specific

15 business contacts with persons in California.

16        23.   The WGCZ Defendants own and control Xvideos.com, Xnxx.com,
17 Xvideosdaily.com, and Xvideostoday.net, all websites that display and distribute

18 pornographic videos, content, and services.

19        24.   ServerStack, Inc. is a wholly owned subsidiary of Digital Ocean, Inc.,
20 and at all relevant times was, a corporation existing under the laws of Delaware as a

21 Domestic Business, and having its registered agent Corporation Service Company

22 located at 80 State Street, Albany, New York 12207-2543 and its principal place of

23 business at 101 Avenue of the Americas, 10th floor, New York, New York, 10013.

24 ServerStack is doing business in California through its data center located in San

25 Jose, California.

26        25.   Digital Ocean Holdings, Inc. is, and at all relevant times was, the
27 ultimate parent company of Digital Ocean, LLC and Server Stack, Inc., and is a

28 corporation existing under the laws of Delaware, having a place of business at 101

                                            -7-
                                  CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 8 of 42 Page ID #:8




 1 Avenue of the Americas, 10th floor, New York, New York, 10013, and its registered

 2 agent, Corporation Service Company at 80 State Street, Albany, New York 12207.

 3 According to its website, Digital Ocean maintains a branch and is doing business in

 4 California.

 5        26.    Digital Ocean, LLC, f/k/a Digital Ocean, Inc, is a wholly owned
 6 subsidiary of Digital Holdings, Inc. Digital Ocean, Inc., was organized under the

 7 laws of Delaware in 2012, having a principal place of business 101 Avenue of the

 8 Americas, 10th Floor, New York, New York, 10013, until it was reorganized as

 9 Digital Ocean, LLC., a foreign limited liability company, with its registered agent at

10 Corporation Service Company, 80 State Street, Albany, New York 12207. According

11 to its website, Digital Ocean is doing business at its California branch.

12        27.     Defendants ServerStack, Digital Ocean Holdings, Inc., and Digital
13 Ocean, LLC, f/k/a Digital Ocean, Inc., hereinafter will be collectively referred to as

14 (“Server Defendants”).

15        28.    The Defendants conspired, facilitated, and financially benefited from
16 participating in what they knew or should have known were sex trafficking ventures.

17 In these ventures, Jane Doe and other minors were trafficked and commercially

18 exploited for sex, in violation of law, including but not limited to, the TVPRA, 18

19 U.S.C. § 1591, et seq.

20        29.    Sex traffickers and the Defendants worked together to earn a profit from
21 commercial sex acts and child pornography involving the Plaintiff and Class

22 members.

23        30.    In addition to the sex trafficking beneficiary and facilitation claims that
24 are the subject of this lawsuit, the WGCZ Defendants have also engaged in sex

25 trafficking as direct perpetrators, on information and belief, in at least two instances.

26        31.    On information and belief, WGCZ entity member/manager Miroslav
27 Mrna directs and/or controls a sex trafficking venture involving pornography

28 performers that spans several countries, including the Czech Republic, Romania, and

                                              -8-
                                    CLASS ACTION COMPLAINT
 Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 9 of 42 Page ID #:9




 1 Colombia.

 2         32.     On information and belief, VS Media, Inc., California-based employees
 3 Brad Estes and Jamie Rodriguez are co-conspirators in Miroslav Mrna’s sex

 4 trafficking venture.

 5         33.     On information and belief, the Legal Porno studio owned and/or
 6 controlled by WGCZ entity GTFlix TV, sro has used force, fraud, and coercion

 7 against women performers, who were severely injured by the extreme and violent

 8 nature of the pornography filming, including one who had to be hospitalized.

 9                                        BACKGROUND
10         34.     In 2000, Congress passed the Trafficking Victims Protection Act
11 (“TVPA”). The TVPA was the first comprehensive law in the United States to

12 penalize the full range of human trafficking offenses,3 including sex trafficking of

13 children under the age of 18 and sex trafficking by force, fraud, or coercion.4

14         35.     Congress reauthorized the TVPA in 2003 and created a civil cause of
15 action, codified at 18 U.S.C. § 1595.5

16         36.     The TVPRA permits civil claims against perpetrators and against those
17 who, although not direct perpetrators, knowingly benefit from participating in what

18 they knew or should have known was a sex trafficking venture.6

19         37.     During a speech in New York City in September 2012, President Obama
20 stated that human trafficking “ought to concern every person, because it is a

21 debasement of our common humanity. It ought to concern every community, because

22 it tears at our social fabric. It ought to concern every business, because it distorts

23 markets. It ought to concern every nation, because it endangers public health and

24

25   3
     See Victims of Trafficking and Violence Protection Act of 2000. Pub. L. No. 106-386, § 102(a),
   114 Stat. 1464, 1467(2000), available at https://www.congress.gov/106/plaws/publ386/PLAW-
26 106publ386.pdf.
   4 See 18 U.S.C. § 1591(a) available at https://www.law.cornell.edu/uscode/text/18/1591
27 5 See Trafficking Victims Protection Reauthorization Act of 2003, Pub. L. No. 108-193, §
   4(a)(4)(A), 117 Stat. 2875, 2878 (2003), available at https://www.gpo.gov/fdsys/pkg/STATUTE-
28 117/pdf/STATUTE-117-Pg2875.pdf
   6 Id.
                                                 -9-
                                       CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 10 of 42 Page ID #:10




 1 fuels violence and organized crime.”7

 2         38.     Statistics released in 2014 by the International Labor Organization
 3 (“ILO”) showed that approximately 4.5 million people were victims of forced sexual

 4 exploitation globally and that the violation of their human rights yielded an estimated

 5 annual profit of $99 billion dollars for sex traffickers worldwide.8

 6         39.     The United States Department of Justice estimates that pornographers
 7 have recorded the abuse of more than one million children in the United States. 9 The

 8 Internet      has radically changed how child pornography is reproduced and
 9 disseminated: “The expansion of the Internet has led to an explosion in the market

10 for child pornography, making it easier to create, access, and distribute these images

11 of abuse. While ‘child pornography’ is the term commonly used by lawmakers,

12 prosecutors, investigators and the public to describe this form of sexual exploitation

13 of children, that term largely fails to describe the true horror that is faced by hundreds

14 of thousands of children every year. The child victims are first sexually assaulted in

15 order to produce the vile, and often violent, images. They are then victimized again

16 when these images of their sexual assault are traded over the Internet in massive

17 numbers by like-minded people across the globe.”10

18         40.     In the United States, the National Center for Missing and Exploited
19 Children       (“NCMEC”)        serves    as    the   national     clearinghouse      for   child
20 pornography/child sexual abuse material reports. NCMEC was created by an Act of

21 Congress and is federally funded.           NCMEC operates the “CyberTipline,” which
22 gathers child sexual exploitation reports (including child pornography, online

23

24
   7 President Barack Obama, Remarks to the Clinton Global Initiative (Sept. 25, 2012), available at
25 https://obamawhitehouse.archives.gov/the-press-office/2012/09/25/remarks-president-clinton-
   global-initiative.
26 8 International Labour Office, Profits and Poverty: The Economics of Forced Labour (2014), at 13,
   available at https://www.ilo.org/wcmsp5/groups/public/---ed_norm/---
27 declaration/documents/publication/wcms_243391.pdf.
   9 Roger J.R. Levesque, Sexual Abuse of Children: A Human Rights Perspective, at 66 (Ind. Univ.
28 Press 1999).
   10 https://www.justice.gov/psc/docs/natstrategyreport.pdf.
                                                - 10 -
                                       CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 11 of 42 Page ID #:11




 1 enticement, and contact offenses). Individuals and electronic service providers

 2 (“ESPs”) may report incidents of suspected child sex trafficking or child sexual abuse

 3 images to the CyberTipline. In 2019, the CyberTipline processed 16.9 million reports

 4 and approximately 21 million reports in 2020. NCMEC also operates the U.S. Child

 5 Victim Identification Program and, as of 2019, it had reviewed more than 312 million

 6 images and videos of child sexual abuse material.11

 7         41.    Through NCMEC’s database, more than 13,200 child victims have been
 8 identified by law enforcement.

 9         42.    On January 31, 2020, President Trump entered Executive Order #13903,
10 entitled “Combating Human Trafficking and Online Child Exploitation in the United

11 States.”12 The Order stated: “Human trafficking is a form of modern slavery.

12 Throughout the United States and around the world, human trafficking tears apart

13 communities, fuels criminal activity, and threatens the national security of the United

14 States. It is estimated that millions of individuals are trafficked around the world each

15 year—including into and within the United States.” It further stated: “Twenty-first

16 century technology and the proliferation of the internet and mobile devices have

17 helped facilitate the crime of child sex trafficking and other forms of child

18 exploitation. Consequently, the number of reports to the National Center for Missing

19 and Exploited Children of online photos and videos of children being sexually abused

20 is at record levels.”

21 ///

22 ///

23 ///

24 ///

25

26
   11 Child Sexual Abuse Material (CSAM), National Center for Missing & Exploited Children,
27 https://www.missingkids.org/theissues/csam (last visited Feb. 8, 2021).
   12 Exec. Order No. 13903, 85 FR 6721, 6721-6723 (Jan. 31, 2020), available at
28 https://www.federalregister.gov/documents/2020/02/05/2020-02438/combating-human-trafficking-
   and-online-child-exploitation-in-the-united-states.
                                              - 11 -
                                     CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 12 of 42 Page ID #:12




 1                                    FACTUAL ALLEGATIONS
 2        A. Commercial Sex Acts Involving Minors Are Sex Trafficking
 3          43.     Under 18 U.S.C. § 1591(e)(3) the term “commercial sex act” means any
 4 sex act, on account of which anything of value is given to or received by any person.

 5 18 U.S.C. § 1591(e)(3).

 6          44.     Section 1591(a)(1) and (a)(2) make it a crime to benefit, financially or
 7 by receiving anything of value, from participation in a venture which knowingly

 8 recruits, entices, harbors, transports, provides, obtains, maintains, advertises,

 9 patronizes, or solicits by any means a commercial sex act involving a person who is

10 under 18 years old or a person induced by force, fraud, or coercion.13                     18 U.S.C. §
11 1591(a)(1).        Section 1591(a)(2) also makes it a crime to knowingly benefit,
12 financially or by receiving anything of value, from participation in a venture which

13 has engaged in the acts described in § 1591(a)(1).

14          45.     The TVPRA, as amended in 2008, improved a victim’s ability to hold
15 traffickers accountable, by eliminating the requirement to prove a particular

16 defendant knew a sex trafficking victim was a minor, in cases where the defendant

17 had a reasonable opportunity to observe the minor. The TVPRA also significantly

18 expanded the civil cause of action and extended liability to those who financially

19 benefit from sex trafficking. The revised civil remedy provision allows sex trafficking

20 survivors sue anyone who benefits financially or receives anything of value from the

21 violation. Survivors may sue the direct perpetrator as well as anyone else who

22 “knowingly benefits, financially or by receiving anything of value from participation

23 in a venture which that person knew or should have known has engaged in an act in

24 violation of [the statute.]” 18 U.S.C. § 1595(a) (emphasis added).

25          46.     In 2018, Congress passed a bill known as Fight Online Sex Trafficking
26 Act (“FOSTA”) and Stop Enabling Sex Traffickers Act (“SESTA”) (collectively,

27

28   13Except for advertising offenses, “reckless disregard of the fact[s]” is a sufficient mens rea for any
     of these crimes. 18 U.S.C. § 1591(a).
                                                   - 12 -
                                          CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 13 of 42 Page ID #:13




 1 “FOSTA/SESTA”) to amend 47 U.S.C. § 230, the Communications Decency Act, to

 2 clarify that it was never intended to provide immunity from civil lawsuits for

 3 websites that facilitate or profit from sex trafficking.14            The FOSTA/SESTA
 4 amendment to Section 230 is retroactive, applying “regardless of whether the conduct

 5 alleged occurred, or is alleged to have occurred, before, on, or after … enactment.”15

 6          47.   Plaintiff and the Class Members are sex trafficking victims under 18
 7 U.S.C. §1591 and are therefore entitled to bring a civil action and seek redress under

 8 18 U.S.C. §1595.

 9        B. WGCZ Entities Facilitate and Profit from Sex Trafficking of Minors
10          48.   The WGCZ Defendants own and operate a large number of websites
11 including      two    major “tube-sites” -- www.XVideos.com              (“XVideos”) and
12 www.xnxx.com (“XNXX”) -- which WGCZ Defendants boast are “the most visited

13 adult porn tubes on the planet.”16

14          49.   WGCZ boasts it has        200 million daily visitors and 6 billion daily
15 impressions on its various websites from which it has consolidated production and

16 distribution.17 Traffic Factory is a web advertising and digital marketing company

17 created by WGCZ, and owned by Traffic F, sro, for use on XVideos and other

18 WGCZ-owned sites. WGCZ’s revenue model is based in part on being able to sell

19 ads to advertisers.

20          50.   Unlike other video websites such as YouTube, WGCZ’s websites also
21 include a download button for transferring images and videos, including the child

22 sexual abuse material appearing on the WGCZ Defendants’ websites, from their

23 servers to an undisclosed number of child pornographers, child sex traffickers, and

24 pedophiles.

25

26   14
      Pub. L. 115–164, §2, Apr. 11, 2018, 132 Stat. 1253
     15
      See, 132 Stat. 1253, §4(b); see also Woodhull Freedom Found v. United States, No. 18-5298,
27 2020 WL 398625 (D.C. Cir., June 24, 2020).
   16 https://porn.work/en/ (last visited Feb. 21, 2021).
28 17See https://www.trafficfactory.com/wp-content/uploads/2019/09/TRAFFIC-FACTORY-MEDIA-
   KIT-ENGLISH.pdf
                                              - 13 -
                                     CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 14 of 42 Page ID #:14




 1            51.    WGCZ proclaims XVideos to be its flagship website.
 2            52.    As of January 2021, Xvideos is the most popular pornography website in
 3 the world and the 7th most popular website in the world, visted more than Netflix,

 4 Amazon, and Wikipedia,18 with over 3 billion visits a month.19 WGCZ’s second most

 5 popular website XNXX is the 9th most visited website in the world and together these

 6 two websites garner over 5 billion visits a month,20 double the traffic of their biggest

 7 competitor, Pornhub.21

 8            53.    WGCZ receives between 1200 to 2000 videos to its site every day.
 9            54.    WGCZ permits easy access to its XVideos site and encourages users to
10 create their own sites and use the existing 7,000,000 videos with video URL,

11 thumbnail URL, tags, duration, title, and embedded code to do so. 22 As recently as

12 2018, WGCZ invited Xvideos users taking advantage of this feature to subscribe to

13 their “updates feed” so that new videos could be quickly distributed from the Xvideos

14 site directly to the subscriber noting, “There are over 5000 videos added every day. It

15 can go up to 10000 videos uploaded in a single day.”

16            55.    Users consuming content on XVideos have several options: (1) access
17 the site for free without creating an account; (2) create an account and receive a

18 variety of WGCZ developed, generated and controlled benefits or partner programs;

19 (3) pay for a premium Red Service account, which is managed, operated and

20 controlled by WGCZ.

21

22

23

24

25

26
     18   See https://www.similarweb.com/top-websites/.
27   19   See https://www.similarweb.com/website/xvideos.com/.
     20   See https://www.similarweb.com/website/xnxx.com/.
28   21   See https://www.similarweb.com/website/pornhub.com/#overview.
     22   https://info.xvideos.com/db
                                                  - 14 -
                                         CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 15 of 42 Page ID #:15




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11             56.    There are three options available for users uploading content, (1) create
12 an account and upload content without making any money (2) create an account and

13 "verify" (upload a video of yourself) to upload videos while disguised behind a VPN

14 and (3) upgrade to a “channel” (upload three high quality videos of a certain length)

15 account to monetize videos.

16             57.    The content partner program offers the pornographer various methods to
17 upload content and create revenue based on views of material uploaded to XVideos.

18 From the XVideos site, a user can select the WGCZ-created link for “RED videos,”

19 XVideos premium content, and various “channels” hosting WGCZ-controlled

20 content, including from content partners.

21             58.    To join the content partner program a user must create an XVideos
22 account (which requires only a valid email address), “verify” the account, and then

23 set up a “channel” by uploading three or more videos. The “verification” process
                                                        23


24 consists of submitting a video in which “You do not necessarily have to show your

25 face but it must be enough of you to prove that the content under your account is

26 clearly yours. . . . The video must also be related to XVIDEOS in some way. You can

27

28
     23   See https://info.xvideos.com/cpp.
                                                       - 15 -
                                              CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 16 of 42 Page ID #:16




 1 have XVIDEOS written on your body, or you can talk about XVIDEOS (a simple “I

 2 am on XVIDEOS” is fine). . . . Feel free to be creative. We are not strict on what we

 3 want to see, as long as it matches your uploads. We like good ones and may promote

 4 them to the front page.”

 5

 6

 7

 8

 9

10

11

12

13

14
            59.    For studios/production companies, the “verification” standard is even

15
     lower. WGCZ’s site currently instructs them to either “ignore the verification

16
     process” or “call us directly.”24

17

18

19

20

21

22

23

24

25

26

27

28   24Although the verification screenshot above shows information dated from 2018, it still appears on
     the XVideos account dashboard as a current set of requirements.
                                                  - 16 -
                                         CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 17 of 42 Page ID #:17




 1          60.     Accounts can be opened by loading a photo or by uploading a video, but
 2 there are no requirements that a photo or video must have any relationship to the

 3 videos or images being uploaded, which often involve more than one person.

 4 Submitting a photo will verify an account and allows submission of a verification

 5 video, which opens the door to additional benefits including monetization through

 6 either a model account or a channel account.

 7          61.     There is a stated requirement that the account holder be at least 18 years
 8 old, but however, it is unclear how this requirement is verified.

 9          62.     Once an account is verified videos may be uploaded. If a video posted
10 by an amateur pornographer includes other parties or individuals, WGCZ has no

11 effective process to verify age.           A user who creates a channel on XVideos can
12 “promote [their] brand through various ads and links”25 and their videos can be

13 monetized.26 WGCZ promotes and                 profits from these partner channels including
14 verified partner channels that distributed Plaintiff’s abuse videos.

15          63.     WGCZ reviews, monitors, and approves incoming videos to determine
16 whether the videos are worthy of being posted to channel accounts.                  Channel
17 accounts require a minimum of three video uploads. Further, WGCZ reviews videos

18 to confirm whether the video is of “decent quality” defined as “no close ups, bad

19 lighting or shaking camera” and of adequate length such that each of the three

20 required videos for a channel account must be “longer than five minutes.” 27 WGCZ

21 reviews videos and cautions that “if you are stealing content, please don't bother. We

22 will verify.”

23          64.     Content consumers who achieve or otherwise obtain a particular status
24 are offered a variety of benefits by WGCZ, including “dedicated support services.”

25

26

27
     25 See https://info.xvideos.com/cpp.
28   26 See https://info.xvideos.com/account-status.
     27 See, https://info.xvideos.com/cpp.
                                                  - 17 -
                                         CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 18 of 42 Page ID #:18




 1         65.   XVideos accounts permit and encourage subscription and premium
 2 content placement whereby WGCZ profits from images and videos of commercial

 3 sex acts, including the sexual abuse and rape of children. Further, WGCZ encourages

 4 advertising placement before videos play, underneath videos and around videos. This

 5 profit-making activity included the Plaintiff’s rape.

 6         66.   WGCZ generates, originates, or otherwise edits video thumbnails and/or
 7 tags associated with videos loaded onto its website. Tags are keywords associated

 8 with a video and are used to optimize search features on the XVideos website, which

 9 ultimately increases views, downloads, and the success of targeted advertising by

10 Traffic Factory.     Many tags, categories, and search suggestions that have been
11 reviewed, categorized, created and/or edited by WGCZ help users locate the type of

12 video they are searching for, including child pornography, child sex trafficking, or

13 any other child sexual abuse material.        One such tag WGCZ used to classify
14 pornographic content on its XVideos website is “toddler.” The optimization, logic,

15 tags and/or search terms created by WGCZ further and automatically presents the

16 user with “related searches” like “jailbait,” “not 18,” “flat hairless,” “innocent little

17 young girl,” “cheese pizza,” “how old is she,” “elementary,” and more than 20 other

18 “related searches” where videos had been tagged or indexed with similar horrifying

19 terms, some even in foreign languages, suggesting child pornography, trafficking,

20 and rape of children.

21         67.   In short, WGCZ’s introduction of “related search terms” and tags make
22 it easier for pedophiles to find the exact content they want: child sexual abuse

23 material, including that of the Plaintiff.

24         68.   WGCZ creates, manipulates and maintains statuses and indexes for
25 account holders, allowing users to locate each other in a verified user index based on

26 information provided at account creation. Uploaders that are monetizing their videos

27 get additional benefits      including (1) priority appearance over other users (2)
28 appearance in a “pornstar” index and (3) appearance in an index ranking “models.”

                                             - 18 -
                                    CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 19 of 42 Page ID #:19




 1        69.   Another optimizing feature Xvideos performs for its users is creating
 2 thumbnail images and preview videos for uploaded videos. Thumbnail images are

 3 preview images that show a particular scene from an uploaded video to a user

 4 browsing the site. If a user places their mouse over a video, they are shown additional

 5 thumbnail images or a small preview video. Thumbnail images and preview videos

 6 are created and displayed to increase traffic to a particular video and generate

 7 additional revenue. Xvideos produces and controls thumbnail images and preview

 8 videos for uploaded videos. In some cases, uploaders that are monetizing videos are

 9 allowed to select from four Xvideos provided thumbnail images for a limited time

10 after uploading. Xvideos chooses the additional thumbnails and preview videos that

11 appear when users hover over a video.

12        70.   XVideos users that have “verified” by uploading a video can participate
13 in a XVideos unique chat system and upload videos while disguising their identities

14 through a virtual private network (“VPN”). The Xvideos site is sophisticated enough

15 to determine whether someone entering their site is doing so by VPN as well as

16 whether the IP address or account code was obtained from a server farm or

17 illegitimate or non-traceable account.

18        71.   The Xvideos site facilitates and assists pedophiles and criminals to
19 communicate with providers of victims, through its chat system embedded on

20 WGCZ’s XVideos website. This unique communication system allows account

21 holders and users to remain virtually anonymous while posting t images and videos

22 without meaningful verification or detection.

23        72.   The WGCZ communication system combined with the enormous reach
24 and popularity of its website, allowed sex traffickers to market sex trafficking

25 victims, including minors, and connect illegal sex providers and buyers in an

26 anonymous fashion. Because WGCZ controlled the communication system, and

27 allows “verified” users to disguise themselves through a VPN service, the exact

28 location and identities of those who upload videos can be hidden from law

                                            - 19 -
                                   CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 20 of 42 Page ID #:20




 1 enforcement and other agencies responsible for exploited minors.

 2        73.    WGCZ makes it easy for traffickers, rapists, or other would-be criminals
 3 to go undetected as account holders who control and recover any associated

 4 compensation.

 5        74.    WGCZ completely fails to control the torrent of videos available on its
 6 sites depicting children being molested, rapes of children and adults, persons who are

 7 incapacitated and otherwise unwilling participants.

 8        75.    Minor victims of sex trafficking and their representatives have contacted
 9 WGCZ to remove videos of them from its websites, but WGCZ has refused to do so.

10 Thus, WGCZ is knowingly in possession of child pornography and is allowing

11 distribution of it for profit.[KA3]

12        76.    As of December 2020, WGCZ, was not registered as an ESP with the
13 National Center on Missing and Exploited Children (NCMEC) to report child

14 pornography and child sex trafficking, on its site(s). Upon information and belief,

15 WGCZ fails to report at least some material it knows is child pornography to

16 NCMEC and/or similar entities and/or law enforcement, even when WGCZ removes

17 such material.

18        77.    WGCZ makes no consistent or effective effort to monitor or control who
19 is posting or present in videos on its websites.

20        78.    Currently, XVideos does not require account owner verification, beyond
21 uploading a video with a reference to Xvideos, unless the account owner seeks to

22 monetize the video. WGCZ also makes no effort to verify people in the video. In

23 fact, WGCZ only requires that a video be uploaded with an “Xvideos” sign.

24        79.    Further, the site, acknowledging that account holders are not required to
25 verify the participants in the video, indicates “you might get banned if you upload

26 from multiple accounts” which is impossible to trace because the site allows users to

27 access videos through VPN which hides the true IP address which would have been

28 associated with an account.

                                             - 20 -
                                    CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 21 of 42 Page ID #:21




 1             80.     For years, WGCZ has also actively and directly produced content for its
 2 various websites and viewers. WGCZ owns major pornography production studios

 3 including the            Penthouse entities Private Media Group, Legal Porno, and
 4 BangBros.com. 28

 5

 6

 7

 8

 9

10

11

12

13

14             81.     The content WGCZ creates relies on data gathered from its users’ habits
15 to highlight new trends, compare viewing habits of users in different cities or regions,

16 and generally parse the online behavior of its millions of consumers.

17             82.     WGCZ harnesses the data it compiles and analyzes to write scripts and
18 specify details, including dialogue, positions, sex acts, and camera angles in those

19 video shoots. The level of detail and overall approach to WGCZ’s content production

20 illustrates the impact of WGCZ’s analysis of user data on WGCZ’s content creation

21 process. WGCZ caters to fetishes and incorporates and highlights elements of the

22 videos on its websites based on user data. WGCZ’s leadership has stressed that

23 content choices reflect the data mining of millions of views, which allows WGCZ to

24 determine what variables produce the highest viewership. WGCZ’s data analyses are

25 used to determine, create, and place content, including child sexual abuse material, on

26 its websites.

27

28
     28   See, http://https://porn.work/en/
                                                       - 21 -
                                              CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 22 of 42 Page ID #:22




 1        83.    WGCZ also uses data from its billions of monthly views to make
 2 decisions about specific features of the content it creates and curates on its various

 3 websites. WGCZ suggests to users what other content a particular user might like

 4 based on prior viewing, and categorizes all material on its websites, including the

 5 child sexual abuse material, based on widely-searched terms. WGCZ leverages its

 6 user data to shape the particulars of content and drive user engagement.

 7        84.    WGCZ does not require any verification to create an account and upload
 8 videos. WGCZ created a "verification" process that allows users that wish to disguise

 9 their locations and IP addresses with a VPN while uploading content to create an

10 account and upload videos by submitting a video with a reference to xvideos in it.

11        85.    Further, WGCZ indicates that the risk for “uploading illegal content may
12 result in your account being disabled and possibly deleted.” There is no reference to

13 how long an account would be disabled, when an account would be deleted, nor what

14 measures would be taken to prevent a new account from being created.

15        86.    WGCZ is responsible, in whole or in part, for developing and creating
16 guidelines which permit, promote, and encourage sex trafficking and child

17 pornography on its website, XVideos. WGCZ facilitates and assists traffickers and

18 child pornography purchasers through its account creation and data mining efforts.

19 Through the unique systems established by WGCZ, child pornography and videos of

20 rape are organized, tagged, and optimized to create optimal opportunity for profits.

21     C. Server Defendants
22        87.    WGCZ partnered with ServerStack to help grow their business by
23 providing growth consulting services and full service infrastructure management

24 services, including indexing and categorizing data and offering sophisticated software

25 designs to maximize XVideos growth and profit.

26        88.    In 2004, ServerStack, Inc. was created by Ben Uretsky with offices
27 located in New York.

28        89.    ServerStack does business through its data center in San Jose, California.
                                            - 22 -
                                   CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 23 of 42 Page ID #:23




 1            90.     At least by 2008, ServerStack became a server host provider for
 2 XVideos and its affiliates and as of 2010 became the sole server host provider, and

 3 currently maintains that status.

 4            91.     ServerStack currently hosts the website XVideos.com and its related pornography
 5 affiliates, including but not limited to XNXX.com and the marketing arm of XVideos.com, Traffic

 6 Factory.

 7            92.     ServerStack was bought by Digital Ocean Inc. in 2013 and continued to be wholly
 8 owned, operated, and controlled by Digital Ocean, Inc., until Digital Ocean Inc. was terminated and

 9 reorganized into Digital Ocean, LLC and Digital Ocean Holdings, Inc.

10            93.     Ben Uretsky, the owner, CEO, and creator of ServerStack and DigitalOcean, Inc.
11 during reorganization formed the ultimate parent company, Digital Ocean Holdings, Inc. in

12 February 2018.

13            94.     Ben Uretsky described the partnership with its client website clients as
14 follows:

15                    [T]he first company that I started was called ServerStack and it
                      managed hosting, just taking care of the customer environment
16                    online. So let’s say you generate some revenue because you are
                      a retailer, so e-commerce or you drive some sort of a
17                    subscription network maybe it’s video ads or advertising in
                      general, in other words you are generating revenue online, you
18                    want to make sure that your website stays active. And so we
                      monitored and took care of that entire environment, provided a
19                    100% uptime SLA, took care of back up security, capacity
                      planning, network expansion, just everything that falls within
20                    IT management and helped our customers grow their
                      business. And so what was great about that business was that as
21                    you sign up that first customer, more often than not, they
                      continued to grow their business, so each month, each account
22                    produces more revenue    and the goal is to get as many more
                      accounts as you can.29
23

24            95.     ServerStack appears to have ceased operating independently of
25 DigitalOcean when it was purchased in 2013. Serverstack’s website, blog, Twitter

26 account, and Facebook page have not been updated with any new information or

27

28
     29   https://www.cleverism.com/digitalocean-interview-ceo-ben-uretsky/.
                                                   - 23 -
                                          CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 24 of 42 Page ID #:24




 1 marketing materials since 2013.30                 Essentially, upon information and belief,
 2 ServerStack is a shell company wholly operated and controlled by Digital Ocean

 3 Holdings, Inc.

 4            96.     ServerStack, the sole server host for XVideos, is being operated
 5 exclusively by Digital Ocean Holdings, Inc. who shares executives, operations, office

 6 space and employees with Digital Ocean Holdings and Digital Oceans LLC.

 7            97.     Digital Ocean Holdings, Inc. exercises or has the right to exercise
 8 control over business operations, management, supervision, administration, and

 9 procedures of ServerStack.

10            98.     Server Defendants are a single and joint employer with a high degree of
11 interrelated, intermingled, and unified operations.

12            99.     Server Defendants jointly employ or ratify the employment of
13 individuals through horizontal joint employment or vertical joint employment.

14            100. As an integrated enterprise or joint employer, Server Defendants are
15 separately and jointly responsible for compliance with all applicable laws.

16            101. As an integrated enterprise and or joint employer, Server Defendants are
17 jointly and severally liable for any damages caused by employees.

18            102. During the time period relevant to the allegations contained herein, the
19 Server Defendants were in an agency relationship created through one or more of the

20 following actions:

21                    a. sharing profits,
22                    b. standardized operations, policy, and training methods for employees;
23                    c. sharing executive officer, Ben Uretsky;
24                    d. sharing executive office locations in New York;
25                    e. building and maintaining ServerStack, Inc. owned and operated by
26                       Digital Ocean Holdings, Inc. in a manner specified by Defendant
27

28
     30   https://www.serverstack.com/tour.html.
                                                     - 24 -
                                            CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 25 of 42 Page ID #:25




 1                 Digital Ocean Holdings, Inc.;
 2              f. standardized rules of operation;
 3              g. regular inspection of the data being reviewed, stored, optimized,
 4                 processed, stored;
 5              h. prices and expenses fixed by Defendant Digital Ocean Holdings, Inc;
 6                 or
 7              i. any actions that deprive ServerStack of independence in business
 8                 operations.
 9     D. Server Defendants Facilitate Sex Trafficking of Minors, including Jane Doe
10        103. ServerStack, through Digital Ocean Holdings is more than just a
11 dormant server hosting backup storage.        The Server Defendants are interactive
12 partners with XVideos.com.           ServerStack boasts that it scaled “a website’s
13 infrastructure to serve 150 million pageviews per day through a “single managed

14 dedicated server.” Upon information and belief, the partnership and business growth

15 mentioned in that boast is that of Xvideos.com.

16        104. ServerStack boasts that it maintains fully managed servers for its clients
17 to support and optimize usage. ServerStack’s services include creating and managing

18 server infrastructure for each individual website component, such as the comment

19 system, the video players, and search tools. Xvideos uses a comment system, a video

20 player, and a search tool on its website. Upon information and belief, these processes

21 optimize and manipulate data, increase revenue, and promote interaction with child

22 pornography, including that depicting Plaintiff and other class members.

23        105. A key function of XVideos is receiving and encoding videos from users.
24 Encoding a video converts it to a format suitable for the XVideos video player. This

25 process also allows XVideos to manipulate, review, and edit videos to capture, create,

26 and publish thumbnail images, including videos of Plaintiff and other minors. Video

27 encoding, thumbnail creation, and video playing are critical functions provided by

28 Serverstack’s application servers for XVideos. ServerStack independently advertised

                                            - 25 -
                                   CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 26 of 42 Page ID #:26




 1 their skill with implementing video functions on their blog.31

 2          106. A key XVideos function is its video search tool. Generally, searching a
 3 website requires that website to be indexed, a process that gathers, organizes, and

 4 creates information about each video. That information is set up in a format that

 5 responds to searches by users quickly and efficiently. Searching and indexing are

 6 critical functions provided by Serverstack’s application servers for XVideos.

 7          107. Key XVideos functions also include social elements, including
 8 commenting on individual videos and chat services. There are millions of comments

 9 on XVideos, and XVideos chatting services include direct, non-public, user to user

10 image sharing, between tens of thousands of users on the site. These commenting and

11 chatting services are critical functions provided by Serverstack's application servers

12 for Xvideos.

13          108. Without active management of these servers by ServerStack, XVideos
14 would routinely stop functioning.

15          109. Upon information and belief, ServerStack provides at least one dedicated
16 employee to manage, manipulate, and strategize opportunities to “help grow the

17 XVideo business.”

18          110. Upon information and belief, ServerStack provides the infrastructure and
19 was the mind behind interactive features like the unique, exclusive, and internal

20 communication systems within Xvideos.

21          111. In the last two years, Digital Ocean reported more than 75 instances of
22 child pornography to the National Center for Missing & Exploited Children.32

23          112. WGCZ          actively     controls     how      videos     are     posted;    the
24 discussions/comments surrounding particular videos and images; processes for

25

26
     31https://www.serverstack.com/blog/2012/03/13/live-video-streaming-to-any-mobile-device-with-
27
     wowza-media-server-hosting/index.html.
28   32 National Center for Missing & Exploited Children, 2019 and 2020 Reports provided by

     Electronic Service Providers. https://www.missingkids.org/gethelpnow/cybertipline
                                                - 26 -
                                       CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 27 of 42 Page ID #:27




 1 viewing, posting, and creating accounts; and processes for encouraging and

 2 rewarding income and fees for downloaded and viewed content.

 3             113. Upon information and belief, Server Defendants assist WGCZ in
 4 customizing how (1) videos are posted; (2) the discussions/comments surrounding

 5 particular videos and images; (3) content consumers and posters view, post, and

 6 create accounts; and (4) to monetize viewed and downloaded content.

 7             114. WGCZ and Server Defendants work together to optimize data to steer
 8 viewers toward content that they seek the most. More user engagement means more

 9 profit. More views means more money.

10             115. Traffic Factory is a web advertising and digital marketing company
11 created by WGCZ for use on its XVideos site and also maintained by Server

12 Defendants.33

13             116. WGCZ’s revenue model includes being able to sell ads to advertisers. If
14 users are searching for a term frequently then WGCZ can produce or tag materials

15 based on frequent search terms by the users. Upon information and belief, WGCZ

16 edits advertisements placed on its website and, through Traffic Factory, facilitates

17 data-driven decisions about advertising content.            These ads frequently highlight
18 search terms like “teen” and “toddler” which promote the use and creation of child

19 sexual abuse materials.

20

21

22

23

24             117. Upon information and belief, WGCZ developed ads and affirmatively
25 chose the content characteristics and categories to target users and direct ads.

26

27

28
     33   https://www.trafficfactory.com/index.html.
                                                    - 27 -
                                           CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 28 of 42 Page ID #:28




 1           118.   To draw in new users and maintain market share, WGCZ working
 2 together with Server Defendants make most of its library available for free, even

 3 without creating an account.       In this way, WGCZ through Server Defendants
 4 distributes content -- including child pornography -- to anyone.

 5           119. Users can access as much pornography as they like without creating an
 6 account. WGCZ analyzes and optimizes user data to subtly lead viewers to create

 7 accounts for user convenience. This permits WGCZ to better track and understand

 8 what users like. WGCZ uses the data to facilitate and route viewers to increased

 9 engagement with the platform and leads viewers to paid subscriptions offering

10 premium content reflecting the viewer’s preferences, even if that content involves

11 child rape, pornography, or other rapes.

12           120. WGCZ sells its Red Service subscription which enables users to
13 “download videos in HD” and “chat with other users through the [private] VPN

14 system” and other benefits all managed, maintained, and facilitated by WGCZ for a

15 profit.

16           121. WGCZ’s “content program” pays “millions a year to content providers.”
17 Account holders on its model or channel split profits with WGCZ through (1)

18 advertisement income sharing; (2) revenue sharing; and (3) Xvideos red share

19 accounts.

20           122. WGCZ does not have adequate protocols and procedures to identify,
21 remove and report videos with titles or tags that capture words like “toddler,”

22 “elementary,” “little baby girl,” or other graphic, criminal or inappropriate tags and

23 content.

24           123. WGCZ is generating millions in advertising and membership revenue,
25 applies sophisticated data analytics to troll and monitor its users; and yet employs no

26 effective system to reliably verify the age or consent of those featured in the

27 pornographic content, or most importantly prevent sex trafficking of the most

28 vulnerable victims whose bodies have been sold for profit.

                                             - 28 -
                                    CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 29 of 42 Page ID #:29




 1        124. WGCZ nor Server Defendants took meaningful initiative to verify
 2 whether illegal content existed in a particular video or image, whether those in the

 3 videos or images were minors, forced participants, or non-consenting participants

 4 because they were asleep, drugged, drunk, or otherwise incapacitated, or to

 5 sufficiently validate the identity of the account owner such as requiring a two-step

 6 verification process (true credit card or bank account matching an official photo ID

 7 for the account holder); requiring IP addresses and personal information of the owner

 8 and operator of the device used to post the video or image; and a detection of persons

 9 in a video with a match to IDs uploaded to the site.

10     E. Sex Trafficking of Plaintiff Jane Doe via XVideos
11        125. Jane Doe was trafficked when she was just fourteen (14) years old.
12        126. When she was still a minor, a sex trafficker forced Jane Doe to
13 participate in the creation of videos of adults engaging in sex acts with her.

14        127. As a minor, Jane Doe’s traffickers also sold her for sex and some of the
15 sex acts forced upon Jane Doe were recorded on video and uploaded to the xVideos

16 website.

17        128. Jane Doe was not paid for her participation in the production of these
18 videos.

19        129. Videos of adults engaging in sex acts with Jane Doe while she was a
20 minor were uploaded and disseminated through websites owned, operated and/or

21 controlled by Defendants, including, but not limited to XVideos. Videos of these sex

22 acts with the minor Jane Doe continued to turn profits as they were reviewed,

23 downloaded, stored, and disseminated.

24        130. At least four videos that included Jane Doe being trafficked as a minor
25 have been identified on WGCZ sites. The names and other features of the videos are

26 likely to jeopardize Jane Doe’s anonymity in this proceeding. For Jane Doe’s privacy

27 and safety, Plaintiff will be moving for leave to file the names of those videos with

28 the Court under seal.

                                             - 29 -
                                    CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 30 of 42 Page ID #:30




 1         131. At least one “content partner” and official “channel” on XVideos
 2 disseminated these illegal videos of Jane Doe’s rape. This XVideos “content partner”

 3 continues to be a promoted channel on XVideos even after Plaintiff’s videos were

 4 removed in response to a cease and desist letter sent in Fall 2020 identifying the

 5 videos as illegal child sexual abuse material and depictions of Plaintiff’s sex

 6 trafficking.

 7         132. Neither XVideos, nor any other website, owned or operated by WGCZ
 8 Defendants undertook any measure to verify Jane Doe’s identity or age. As a result,

 9 child sex abuse material (“CSAM”) depicting Jane Doe was distributed broadly

10 throughout the world on Defendants’ internet websites.

11         133. During the time that WGCZ Defendants distributed and advertised the
12 CSAM depicting Jane Doe they profited financially from the videos through the sale

13 of advertising and by drawing users to their websites to view the videos.

14         134. Jane Doe continues to be traumatized, every single day, by WGCZ,
15 whose platform is being used to permit the continued and repeated dissemination of

16 these horrific videos for sexual gratification and for profit.

17         135. Jane Doe knows that her videos have been downloaded, using the easy-
18 to-find “Download” button that WGCZ placed on its websites.

19         136. As described above, WGXCZ’s moderation practices are inadequate,
20 and the Defendants have frequently permitted the re-uploading of illicit videos. The

21 broad dissemination of child sex abuse material depicting Jane Doe has severely

22 harmed Jane Doe, including financial, physical, emotional, and reputational harm.

23 She is at risk that the videos of her abuse will be further disseminated -- even

24 uploaded a second time to a WGCZ platform, under a different name or with different

25 tags, leading to further harm to her.

26     F. Jane Doe and Members of the Class Continue to Suffer Irreparable Harm
27         137. Class members, including Plaintiff, remain at risk of irreparable harm
28 due to Defendants’ failure to enact and enforce appropriate and sufficient policies,

                                             - 30 -
                                    CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 31 of 42 Page ID #:31




 1 procedures, and processes for the prevention of child pornography from being added

 2 to the WGCZ Defendants’ sites.

 3         138. On behalf of the Class and herself, Plaintiff seeks injunctive and
 4 equitable relief requiring the Defendants to identify and remove child pornography

 5 and    implement corporate-wide policies and practices to prevent continued
 6 dissemination of child pornography or child sex trafficking.

 7         139. Because of the insidious nature of child sex trafficking and child
 8 pornography, all of this relief is necessary to protect the present and future interests

 9 of Plaintiff and Class members.

10                                  CAUSES OF ACTION
11                                         COUNT I
12              BENEFITING FROM A SEX TRAFFICKING VENTURE
13                               18 U.S.C. §§ 1591 AND 1595
14                      (Plaintiff and the Class Against All Defendants)
15         140. Plaintiff realleges and incorporates by reference all prior and subsequent
16 paragraphs as if fully incorporated herein.

17         141. Defendants knowingly used the instrumentalities and channels of
18 interstate and foreign commerce to facilitate 18 U.S.C. §§ 1591(a)(1) and 1595(a)

19 violations, occurring within the territorial jurisdiction of the United States.

20         142. Defendants’ conduct was in, or affected, interstate and/or foreign
21 commerce.

22         143. Defendants knowingly benefited from participation in what they knew or
23 should have known was a sex trafficking venture, in violation of 18 U.S.C. §§

24 1591(a)(2) and 1595(a).

25         144. Defendants monetize content on their platforms and servers, through
26 advertisements and data collection as well as direct fees from production/uploading

27 agreements with child traffickers.

28         145. Defendants knowingly benefited from, and/or received something of
                                             - 31 -
                                    CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 32 of 42 Page ID #:32




 1 value for participating in what they knew or should have known was, or recklessly

 2 disregarded as being, a sex trafficking venture, namely, commercial sex acts featuring

 3 Plaintiff and other Class members.

 4         146. Defendants’ employees and agents had actual knowledge that they were
 5 facilitating and participating in a scheme to profit from the commercial sex acts of

 6 minors.

 7         147. Defendants’ acts, omissions, and commissions, taken separately and/or
 8 together, outlined above, violate 18 U.S.C. §1595. Specifically, Defendants had a

 9 statutory obligation not to benefit in any way from a sex trafficking venture under 18

10 U.S.C. §1591(a). At all relevant times, Defendants breached this duty by facilitating

11 or profiting from persons under the age of 18 engaging in commercial sex acts.

12         148. Defendants’ conduct has caused Class members, including Plaintiff,
13 serious harm including, without limitation, physical, psychological, financial, and

14 reputational harm.

15                                        COUNT II
16           RECEIPT AND DISTRIBUTION OF CHILD PORNOGRAPHY
17                               18 U.S.C. § 2252 and 2252A
18                      (Plaintiff and the Class against All Defendants)
19         149. Plaintiff realleges and incorporates by reference all prior and subsequent
20 paragraphs as if fully incorporated herein.

21         150. Defendants knowingly received, possessed, and distributed child
22 pornography depicting Class members including Plaintiff, violating 18 U.S.C. §

23 2252.

24         151. Defendants’ receipt and distribution of child pornography occurred in or
25 affected interstate or foreign commerce.

26         152. As a proximate result of Defendants’ violation of 18 U.S.C. § 2252A,
27 Class members, including Plaintiff, suffered serious harm, including physical,

28 psychological, financial, and reputational harm.

                                             - 32 -
                                    CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 33 of 42 Page ID #:33




 1        153. Defendants’ conduct was malicious, oppressive, or in reckless disregard
 2 of Plaintiff’s rights and Class members’ rights. They are entitled to injunctive relief,

 3 compensatory and punitive damages, and the costs of maintaining this action. 18

 4 U.S.C. § 2252A(f).

 5                                       COUNT III
 6          RECEIPT AND DISTRIBUTION OF CHILD PORNOGRAPHY
 7                                     18 U.S.C. § 2260
 8                     (Plaintiff and the Class Against All Defendants)
 9        154. Plaintiff realleges and incorporates by reference all prior and subsequent
10 paragraphs as if fully incorporated herein.

11        155. Defendants, at least some of them outside the United States, knowingly
12 received, possessed, and distributed child pornography depicting Class members

13 including Plaintiff, violating 18 U.S.C. § 2260.

14        156. At least some of the Defendants’ receipt, possession, and distribution of
15 child pornography occurred outside the United States.

16        157. As a proximate result of Defendants’ violation of 18 U.S.C. § 2260,
17 Class members, including Plaintiff, suffered serious harm, including physical,

18 psychological, financial, and reputational harm.

19        158. Defendants’ conduct was malicious, oppressive, or in reckless disregard
20 of Plaintiff’s rights and Class members’ rights. They are entitled to injunctive relief,

21 compensatory and punitive damages, and the costs of maintaining this action. 18

22 U.S.C. § 2255(a).

23                                       COUNT IV
24   VIOLATION OF DUTY TO REPORT CHILD SEXUAL ABUSE MATERIAL
25                                    18 U.S.C. § 2258A
26                      (Plaintiff and the Class against all Defendants)
27        159. Plaintiff realleges and incorporates by reference all prior and subsequent
28 paragraphs as if fully incorporated herein.

                                             - 33 -
                                    CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 34 of 42 Page ID #:34




 1         160. As an “electronic communication service provider,” Defendants’
 2 websites are a “provider” under 18 U.S.C. §§ 2258e(6) and 2258A.

 3         161. Defendants had actual knowledge that sexual exploitation material of
 4 children was being published on their websites, violating 18 U.S.C. § 2252.

 5         162. Defendants knowingly engaged in intentional misconduct by ignoring
 6 clear notice of online sexual exploitation material of children. 18 U.S.C.

 7 § 2258B(b)(1).

 8         163. Defendants’ conduct constitutes a failure to act with reckless disregard
 9 to a substantial risk of causing physical injury without physical justification. 18

10 U.S.C. § 2258B(b)(2)(B).

11         164. Defendants’ conduct constitutes a failure to act for a purpose unrelated
12 to   the performance of any responsibility or function under 18 U.S.C.
13 § 2258B(b)(2)(C).

14         165. Defendants’ conduct has seriously harmed Plaintiff and the Class,
15 including without limitation, physical, psychological, financial, and reputational

16 harm.

17                                        COUNT V
18   VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW (“UCL”)
19                              Cal. Bus. & Prof. Code § 17200
20              (Plaintiff and the California Subclass against all Defendants)
21         166. Plaintiff incorporates each and every allegation set forth above as if fully
22 set forth herein.

23         167. Defendants have violated the UCL by engaging in unlawful, unfair, and
24 fraudulent business acts and practices.

25         168. Defendants knowingly had inadequate age verification systems in place
26 that enabled users to upload child pornography to Defendants’ websites.

27         169. Defendants’ conduct constitutes an unlawful, unfair, and/or fraudulent
28 business act and practice.

                                             - 34 -
                                    CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 35 of 42 Page ID #:35




 1                            CLASS ACTION ALLEGATIONS
 2          170. Plaintiff Jane Doe brings this action under to Federal Rules of Civil
 3 Procedure 23(b)(2), 23(b)(3) and 23(c)(4), on behalf of themselves and the following

 4 Class:

 5                All persons, who were under eighteen years of age at the time they
 6
                  were depicted in any video or image, (1) in any commercial sex
                  act as defined under 18 U.S.C. §§ 1591 and 1595, or (2) in any
 7                child pornography as defined under 18 U.S.C. § 2252A, or (3)
 8                engaging in sexually explicit conduct as defined under 18 U.S.C.
                  § 2260, that has been made available for viewing on any website
 9                owned or operated by the Defendants. (the “Class”).
10
            171. Plaintiff Jane Doe also brings this action on behalf of:
11

12
                  All persons residing in California who were under eighteen years
                  of age at the time they were depicted in any video or image, (1) in
13
                  any commercial sex act as defined under 18 U.S.C. §§ 1591 and
                  1595, or (2) in any child pornography as defined under 18 U.S.C.
14
                  § 2252A, or (3) engaging in sexually explicit conduct as defined
                  under 18 U.S.C. § 2260, that has been made available for viewing
15
                  on any website owned or operated by the Defendants. (the
                  “California Subclass”).
16
            172. Plaintiff reserves the right to seek leave to modify this definition,
17
     including the addition of one or more subclasses, after having the opportunity to
18
     conduct discovery.
19
            173. Numerosity: The Class consists of thousands of people, making joinder
20
     impracticable, satisfying Fed. R. Civ. P. 23(a)(1). The exact Class size and individual
21
     Class member identities cannot be known. However, based on the millions of abuse
22
     reports made to NCMEC, and Defendants’ status as the largest distributor of
23
     pornography in the United States, the numerosity requirement can be established.
24
            174. Typicality: Plaintiff’s claims are typical of the claims of the other
25
     members of the Class Plaintiff seeks to represent. The Plaintiff’s and the other Class
26
     members’ claims are based on the same legal theories and arise from the same
27
     unlawful pattern and practice of Defendants’ sex trafficking profiteering. Plaintiff,
28
     like all members of the Class, was victimized by Defendants profiting from videos
                                              - 35 -
                                     CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 36 of 42 Page ID #:36




 1 depicting Plaintiff in commercial sex acts or child pornography which Defendants

 2 knew, or should have known, were filmed while they were minors.

 3        175. Commonality: There are many questions of law and fact common to the
 4 claims of Plaintiff and the other members of the Class, and those questions

 5 predominate over any questions that may affect only individual Class members, under

 6 Fed. R. Civ. P. 23(a)(2). Additionally, class treatment of common issues under Fed.

 7 R. Civ. P. 23(c)(4) will materially advance the litigation. Common questions of fact

 8 and law affecting members of the Class include, but are not limited to, the following:

 9              a. Whether videos depicting minors in commercial sex acts or child
10                  pornography appear on Defendants’ platforms or servers;
11              b. Whether Defendants profited from videos depicting minors in
12                  commercial sex acts or child pornography appearing on Defendants’
13                  platforms or servers;
14              c. Whether Defendants’ internal controls were adequate to stop videos
15                  depicting minors in commercial sex acts or child pornography from
16                  appearing on Defendants’ platforms or servers;
17              d. Whether Defendants knew or should have known that videos
18                  depicting minors in commercial sex acts or child pornography appear
19                  on Defendants’ platforms or servers;
20              e. Whether Defendants’ conduct constitutes benefiting from or
21                  facilitating sex trafficking, dissemination of videos depicting minors
22                  in commercial sex acts or child pornography, or child exploitation in
23                  violation of 18 U.S.C. §§ 1591, 1595, and 2252A; and
24              f. The scope of the injunctive relief and damages to which the Plaintiff
25                  and members of the Class are entitled.
26        176. Adequacy: Plaintiff will fairly and adequately protect the interests of the
27 Class. Plaintiff’s interests and the interests of all other members of the Class are

28 identical, and Plaintiff is cognizant of her duty and responsibility to the Class.

                                            - 36 -
                                   CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 37 of 42 Page ID #:37




 1 Accordingly, Plaintiff can fairly and adequately represent the interests of the Class.

 2 Moreover, Plaintiff’s counsel are competent and have a wealth of experience

 3 litigating claims regarding sex trafficking and exploitation of minors, complex

 4 commercial litigation, and class actions. Plaintiff and counsel intend to vigorously

 5 prosecute this case and will fairly and adequately protect the Class’ interests. Neither

 6 Plaintiff nor their counsel have any interests adverse to those of the other members of

 7 the Class.

 8        177. Equitable relief: Class certification is appropriate under Rule 23(b)(2)
 9 because Defendants have acted and refused to act on grounds generally applicable to

10 the Class as a whole, such that final injunctive relief is appropriate with respect to the

11 Class as a whole. The nature of the relief sought is described in this Complaint.

12        178. Absent a class action, most of the members of the Class would find the
13 cost of litigating their claims to be cost-prohibitive and will have no effective remedy.

14 Class treatment of common questions of law and fact is also superior to multiple

15 individual actions or piecemeal litigation, in that it conserves the resources of the

16 courts and the litigants and promotes consistency and efficiency of adjudication.

17 Finally, Class treatment would minimize the trauma that Class members would

18 experience as a result of litigating their claims on an individual basis, and further

19 promotes the remedial purposes of the federal statutes under which the claims are

20 brought.

21                                 PRAYER FOR RELIEF
22        WHEREFORE, Plaintiff, individually and on behalf of the Class, respectfully
23 requests that the Court enter a judgment on their behalf and against Defendants, and

24 grant the following relief:

25        A.     Certify the proposed Class pursuant to the Federal Rules of Civil
26               Procedure Rule 23(a), 23(b)(2), 23(b)(3) and (c)(4);
27        B.     Designate Plaintiff as representative of the proposed Class and Plaintiff’s
28               counsel as counsel for the Class;
                                             - 37 -
                                    CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 38 of 42 Page ID #:38




 1       C.    Award injunctive or any other equitable relief, to Plaintiff and the Class,
 2             requiring the Defendants to identify and remove child pornography and
 3             implement corporate-wide policies and practices to prevent continued
 4             dissemination of child pornography or child sex trafficking, including:
 5             a.    Content uploaders’ accounts should be opened only with bank or
 6                   credit card information, so that they can be identified.
 7             b.    Government-issued photo identification should be required for
 8                   each person in a video, and it should be required that each person
 9                   is at least eighteen years old.
10             c.    Defendants should use facial recognition technology to verify that
11                   each performer in a video or image upload is legal.
12             d.    Defendants should remove all images and videos of Plaintiff and
13                   Class members from their platforms, and archive them for use in
14                   this litigation.
15             e.    Defendants should timely respond to all reports of child
16                   pornography,       and   proactively   disable   the   streaming    or
17                   downloading of reported videos without a human moderator.
18             f.    Defendants should disable the “Download” button on videos so
19                   that it is not as easy for sex traffickers to disseminate videos of
20                   Plaintiff and Class Members, causing future harm.
21             g.    Defendants should send all government IDs that have been
22                   associated with any video or account to the databases maintained
23                   by States and the United States, including the FBI and the
24                   National Center for Missing and Exploited Children, so that sex
25                   offenders can be identified and sex-crime victims can be
26                   protected.
27

28

                                           - 38 -
                                  CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 39 of 42 Page ID #:39




 1             h.    Defendants should use “video fingerprinting” technology to
 2                   prevent the repeat upload of videos of Plaintiff’ and Class
 3                   members’ rapes.
 4             i.    Defendants should use human moderators to screen each video
 5                   and image for child pornography or trafficking of minors before
 6                   this material is displayed or otherwise disseminated.
 7             j.    Defendants should adequately train individuals tasked with
 8                   screening videos and images on identifying potential child
 9                   pornography or trafficking.
10             k.    Defendants should employ standards for screening for child
11                   pornography.
12             l.    Defendants should promptly terminate any employees who have
13                   failed to fairly moderate material.
14             m.    Defendants should adequately staff their moderation teams tasked
15                   with screening videos and images so that all videos are screened in
16                   their entirety.
17             n.    Defendants should end the employee bonus program that is based
18                   on the raw number of videos approved per year.
19             o.    Defendants should ban individuals who have uploaded child
20                   pornography or trafficking videos or images from having the
21                   ability to upload anything to a website owned, controlled, or
22                   operated by Defendants ever again.
23             p.    Defendants should limit the number of hours moderators or
24                   employees can review videos and images on a daily basis, so as to
25                   reduce the incidence of “employee burnout” or turnover relating to
26                   the traumatic nature of the work.
27

28

                                           - 39 -
                                  CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 40 of 42 Page ID #:40




 1             q.      Defendants should refuse to publish videos and images that have
 2                     been flagged or are suspected of containing child pornography or
 3                     trafficking.
 4             r.      Defendants should immediately send all videos and images with
 5                     suspected or confirmed child pornography or trafficking to
 6                     NCMEC’s clearinghouse, along with all information available to
 7                     identify perpetrators or victims.
 8       D.    Award all available damages including but not limited to compensatory
 9             and punitive damages in favor of Plaintiff and the Class; and
10       E.    Award Plaintiff and the Class prejudgment interest, costs and attorneys’
11             fees;
12       F.    Require restitution and disgorgement of all profits and unjust enrichment
13             obtained as a result of Defendants’ unlawful conduct; and
14       G.    Retain jurisdiction of this matter to ensure all forms of relief it deems
15             appropriate.
16                                      JURY DEMAND
17       Plaintiff hereby demands a trial by jury on all issues so triable.
18

19 Dated: March 19, 2021                         Respectfully submitted,
20                                               KAZEROUNI LAW GROUP, APC
21

22                                         By:      /s/ Abbas Kazerounian
23
                                                 Abbas Kazerounian, Esq.
                                                 Mona Amini, Esq.
24                                               245 Fischer Avenue, Unit D1
25                                               Costa Mesa, California 92626
                                                 Telephone: (800) 400-6808
26                                               Facsimile: (800) 520-5523
27                                               ak@kazlg.com
                                                 mona@kazlg.com
28

                                               - 40 -
                                      CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 41 of 42 Page ID #:41




 1                                       Gregory Zarzaur (ASB-0759-E45Z)*
                                         THE ZARZAUR LAW FIRM
 2                                       2332 Second Avenue North
                                         Birmingham, Alabama 35203
 3                                       T: (205) 983-7985
                                         E: gregory@zarzaur.com
 4                                       *pro hac vice application forthcoming
 5                                       Brian Kent*
                                         Gaetano D. Andrea*
 6                                       Jill P. Roth*
                                         M. Stewart Ryan*
 7                                       Alexandria MacMaster
                                         LAFFEY, BUCCI & KENT, LLP
 8                                       1100 Ludlow Street, Suite 300
                                         Philadelphia, PA 19107
 9                                       T: (215) 399-9255
                                         E: bkent@lbk-law.com
10                                       gdandrea@lbk-law.com
                                         jroth@lbk-law.com
11                                       sryan@lbk-law.com
                                         amacmaster@lbk-law.com
12                                       *pro hac vice application forthcoming
13
                                         Benjamin W. Bull*
14                                       Peter A. Gentala*
                                         Dani Bianculli Pinter*
15                                       Christen M. Price*
                                         NATIONAL CENTER ON SEXUAL
16                                       EXPLOITATION
                                         1201 F Street NW, Suite 200
17                                       Washington, D.C. 20004
                                         T: (202) 393-7245
18                                       E: lawcenter@ncose.com
                                         *pro hac vice application forthcoming
19

20
                                         Louis C. Bechtle*
                                         Kevin Dooley Kent*
21
                                         Mark B. Schoeller*
                                         Joseph W. Jesiolowski*
22
                                         CONRAD O’BRIEN PC
                                         Centre Square West Tower
23
                                         1500 Market Street, Suite 3900
                                         Philadelphia, PA 19102-2100
24
                                         T: (215) 864-9600
                                         kkent@conradobrien.com
25
                                         mschoeller@conradobrein.com
                                         jjesiolowski@conradobrien.com
26
                                         lbechtle@conradobrien.com
                                         *pro hac vice application forthcoming
27
                                         Joshua P. Hayes
28
                                         PRINCE GLOVER HAYES
                                         - 41 -
                                CLASS ACTION COMPLAINT
Case 2:21-cv-02428-VAP-SK Document 1 Filed 03/18/21 Page 42 of 42 Page ID #:42




 1                                       701 Rice Mine Road
 2
                                         Tuscaloosa, Alabama 35406
                                         T: (205) 345-1234
 3                                       E: jhayes@princelaw.net
 4                                       *pro hac vice application forthcoming

 5                                       Counsel for Plaintiff and the putative Class
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                         - 42 -
                                CLASS ACTION COMPLAINT
